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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


      UNITED STATES, et al.,

                                    Plaintiffs,

             vs.                                            No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                    Defendant.


                             GOOGLE LLC’S NOTICE OF FILING

            Defendant Google LLC (“Google”) files the following additional exhibits that have

     been identified in the Declaration of Bryon Becker (Doc. 581):


                                  Exhibits 51-60
     Those documents are filed herewith.
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     Dated: April 26, 2024.               Respectfully submitted,

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